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         Exhibit B
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       (12) United States Patent                                                                       ( 10) Patent No.:                      US 9,871,874 B2
              Diem                                                                                     (45 ) Date of Patent:                             * Jan . 16 , 2018
       (54 ) MULTI -LEVEL DATABASE MANAGEMENT                                                    (56 )                            References Cited
              SYSTEM AND METHOD FOR AN OBJECT
              TRACKING SERVICE THAT PROTECTS                                                                              U .S . PATENT DOCUMENTS
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                                                                                                           5 ,263 , 158 A         11/ 1993 Janis
       (71) Applicant: PERDIEMCO LLC , Marshall , TX                                                                                 (Continued )
                           (US)
       (72 ) Inventor : Darrell Diem , Madison , AL (US)                                                               FOREIGN PATENT DOCUMENTS
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       (73 ) Assignee: PERDIEMCO LLC , Marshall, TX                                             WO                          9013186          11/ 1990
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       ( * ) Notice :     Subject to any disclaimer , the term of this                                                      OTHER PUBLICATIONS
                          patent is extended or adjusted under 35
                           U .S . C . 154 (b ) by 0 days.                                        SkyTel , SkyTel FleetHawk Features and Benefits (Sep . 2 , 2004 ),
                           This patent is subject to a terminal dis                             available at https://web .archive .org/web /20040902051242/ http ://
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       ( 21) Appl. No.: 15 /483 ,682                                                                                 (Continued )
       ( 22 ) Filed : Apr. 10 , 2017                                                             Primary Examiner — Mohamed Barakat
                                                                                                (74 ) Attorney, Agent, or Firm — Vector IP Law Group ;
       (65 )                 Prior Publication Data                                             Robert S . Babayi
              US 2017 /0223120 A1 Aug. 3 , 2017                                                 (57)                    ABSTRACT
                     Related U .S . Application Data                                            An improved system and method for defining an event based
       (63 ) Continuation of application No. 15 /200 ,592 , filed on                            upon an object location and a user-defined zone and man
              Jul. 1, 2016 , now Pat. No. 9 ,621 ,661, which is a                               aging the conveyance of object location event information
                                                                                                among computing devices where object location events are
                                (Continued )                                                    defined in terms of a condition based upon a relationship
                                                                                                between user- defined zone information and object location
       (51)
       @      Int . Cl.                                                                         information . One or more location information sources are
              H04L 29 /08               ( 2006 .01)                                             associated with an object to provide the object location
              H04L 29 /06               ( 2006 .01)                                              information . One or more user- defined zones are defined on
                                  (Continued )                                                  a map and one or more object location events are defined .
                                                                                                The occurrence of an object location event produces object
       (52 ) U .S. CI.
       @
                                                                                                location event information that is conveyed to users based
              CPC . ........... H04L 67/ 18 (2013.01 ); H04L 63 / 104                           on user identification codes . Accessibility to object location
                                  ( 2013 .01); H04L 63/ 105 ( 2013 .01) ;
                                  (Continued )                                                   information , zone information , and object location event
                                                                                                 information is based upon an object location information
       (58 ) Field of Classification Search                                                     access code , a zone information access code , and an object
              CPC ......... HO4L 67/18 ; H04L 67 / 22 ; H04L 67 /24 ;                            location event information access code, respectively .
                                         H04L 63 / 104 ; HO4L 63/ 105 ;
                                  (Continued )                                                                            49 Claims, 21 Drawing Sheets

                                                             Abscciate User identification Codes with Computing Devices

                                                        4       Associate locadon Infomization Source with on Coject       #Zin
                                                              Associats Object location conation Access Code with
                                                                 Object Location Information Relating to the object

                                                      494    Coovey Object Location Inionoation to Computing Devices
                                                             Based Wosi Object Location manation Access Code and
                                                                            iwe ! Identification Codes
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                                                                   Devices Paseo Up : User kertification Cores




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              G06Q 10 / 00 ( 2013 .01 ); G08B 5/ 22 (2013 .01)
  (58 ) Field of Classification Search
            CPC ... HO4L 63/ 107; H04W 12 /08 ; H04W 4 /008;
                              H04W 4 /02; H04W 4 /043 ; HO4W 4 / 20 ;
                                 H04W 84 / 12 ; G06K 7 / 10366 ; G06Q
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       312       Convey Object Location Event Information to Computing
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                                                         FIG . 6




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                                           FIG . 9


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                                                                                                          Exhibit B
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                         Map Screen
                          TRACKING          W Y       MAI
                       MAP LOAD MACEOFF MAIN MENU                       1300




           1302       lat: 34732896 LOW - 86587873
                      MAP DATA / 2018            | ABOUT | Close
                                 FIG . 13a
                         Data Screen
                          TRACKING


                             Current KEY:                               1304
                             2222
                               Codes: 1
                                Get Codes           Delete

                             info @ ddian .com


                       20: 2565551212CmyPhoneco .com               Ló

                      CNA
                      MAP DATA ZONE SIZE ABOUT Close
                                  FIG . 13b


                                                                                        Exhibit B
                                                                                    Page 19 of 44
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                        Zone Screen
                         TRACKING
                       www
                                 Load Unlock                  Save 1
                      21797 1042


                                             goyang


                     MAP | 1474 | ZONE |16:28 | ABOUT | 01098 |
                                FIG . 13c
                         Size Screen
                         TRACKING

                                  en                  biter
                             Bula                                      1308
                        O X1 (1 mi)
                             X (296)
                        O X3 (4 m .)
                        O X4 (10 ml)
                       OXS (25 ml.)
                             XG ( 100 m .)
                       Ox7 (300 ml.)
                        O MAX
                             DATA ZONE SZEXIT cose
                                 FIG . 130



                                                                                          Exhibit B
                                                                                      Page 20 of 44
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                      About Screen
                       TRACKING                 + sa17

                      A personalwomen used
                      for lockono needs with
                      used ony for your Tradong
                                                              2370
                                                               1310


                      acovides None of your
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                    ***|DXTA | 2018 | SIZE |ABOUT |CLOSET
                               FIG . 13e




                                                                                      Exhibit B
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                   Group Screen
                       contact
                      Rob :                IG                         1400
                      Bob , 1256479895 - 0006                  free
                      Add List Remove             USEI
                      Bob               12364798954


                  w   0006

                        Set Zone
                                    Star


                      Bab 12564799954 ,0006
                       SetMap      Vek            Close



                                 FIG . 14
                   Contact Screen
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                      Fistvama           Street
                      Lastime
                                           Dolores

                                        Wath Nas y
                      HyattHotel 5 Embarcadero Cert
                       setmap viene close


                                  FIG . 15



                                                                                             Exhibit B
                                                                                         Page 22 of 44
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          atent      Jan . 16 , 2018       Sheet 15 of 21                 US 9,871, 874 B2

                    Camera Screen
                        camera w               123
                    Wome 135569709202222

                                                               42600
                                                                instant




                       Files Text Send Close
                                FIG . 16
                  Big Buttons Screen
                        trmikuttons wY; 2- 4:12


                                                        wine
                                                                      1700

                        GPS OFF              SEND

                         LOG ONT             MAP

                         THAO               CLOSE
                         Set    30          Bluetoon



                                 FIG . 17


                                                                                          Exhibit B
                                                                                      Page 23 of 44
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                                     Map Viewer Web Page
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                Location Map                                                                                                                                                                                                                      WORDT OEN
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                Track Mao                                                                                                                                                                                                                             POI DEN
                Photo Map                                                                                                                                                                                                                                 sojou
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                MEMBER Login
                Member Map                                                                                                                                                                                                                            sanog
            Mamba Zogue Tool                                                                                                                                                                                                                          2007 ,1001
            Member Photo Map                                                                                                                                                                                                                          oord SOIN
            Manba Photo Edit                                                                                                                                                                                                                          zamond
            MEMBER Logou                                                                                                                                                                                                                              Logout
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                                                                                                                                            FIG . 18




                                                                                                                                                                                                                                                                                                      Exhibit B
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                    Contact Viewer Web Page
                  et Diet Co Mat View Microsoft Internet Dolorer
             le     Edit vian Favorites Tools Help
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                    d diem com

             Perolemão contact Viewer for displaying contact
         *
             Wap created with parotomco Tracking Sofware .
         *




         *




             Please enter contactic and Access Code
         com Contacto                                                                                                                                                                     . . . . . . . . .                  .             ..
                                                  M . . . . . . . . . . . . . . . . . .. . . . , 'ris . . . . .                                 ..                   . .. . . .. . . . . . . . . . . .                           .. ...

             Code                                                          . .       . .               « ELLEITER. .                            .                   REFREN - R . , 7 .                    +            +          ,



                  Regal                                                    Sand now




                                                                                                                                     FIG . 19




                                                                                                                                                                                                                                                                                                                                                                                                                      Exhibit B
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                         GPS Tracking and Zone Data                                                                                                         2000
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                                                                           FIG . 20




                                                                                                                                                                        Exhibit B
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                                    Zone Creation                                                              2700
       Exter KEY M . Tæget Phone Nur : Nory and CC krio
                      12585551212    into a ddiana con ? NA    + +   + + . . .   . .




          Zonei O Zone O Public Track ON Click
       w wazo                ni 02 O
                                                              mimi spoming Satelite                             brico



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                                                                                                               RY


                                        FIG . 21




                                                                                                                            Exhibit B
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                                        Zone-based Logging                                           2200



       Code Group Name and or Planet
       contenan                 c        e and Enter
                                               Enter) size
                                                      size
                                                           W .WY




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                                                                                             2202
                                                            2204


                                                     FIG . 22




                                                                                                                        Exhibit B
                                                                                                                    Page 28 of 44
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                Picture Associated with Location 2300                                 - -   --   -   - - -    isiksi
                                                                                                                       wer
       BACK
           Ester Group Phones             Newt




       w                                      www
                                                                         2302


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                                            1256617x5kw/125661705202222.png
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                                                                                                                      Video
                                                                                                                   Cum Exeo




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                                              FIG . 23




                                                                                                                                  Exhibit B
                                                                                                                              Page 29 of 44
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       MULTI -LEVEL DATABASE MANAGEMENT                                 condition can relates to entry by the object into the zone , exit
        SYSTEM AND METHOD FOR AN OBJECT                                by the object from the zone, or proximity of the object to the
          TRACKING SERVICE THAT PROTECTS                                zone Upon meeting the condition , information regarding the
                   USER PRIVACY                                         event is conveyed to the at least one of the one ormore users.
                                                                     5 The one or more users can access at least one of the location
                FIELD OF THE INVENTION                                  information , information relating to the zone or conveyed
                                                                        information regarding the event using one or more access
      The present invention relates generally to a system and           control codes. The access control codes can be configured to
   method for defining an eventbased on the relationship of an    require multiple levels of access control.
   object location and a user -defined zone and managing the 10 Thus, the present invention relates to a system and method
   conveyance of information related to such object location      for defining events that are correlated with the location of
   event among computing devices. More particularly , the one or more objects to one or more zones . Hereinafter, such
   present invention relates to defining an object location event events are referred to as object location events . The object
   based on the location of an object relative to a user-defined location events can be defined at an application level or a
   zone and managing the conveyance of object location event 15 user level. The system and method of the invention also
   information among computing devices based on user iden               conveys information relating to the object location event to
   tification codes associated with the computing devices.              one or more computing devices , which , in an exemplary
                                                                        embodiment of the invention , are associated with corre
            BACKGROUND OF THE INVENTION                          sponding identification codes of one or more users . For
                                                              20 example , association of a user identification code with a
      Various sources of information are available for deter     computing device can be an embedded association (e.g .,
   mining the location of an object. Such location information hard -wired ) or it can be based on a user log - in at the
   sources include Global Positioning System (GPS ) receivers, computing device . In one embodiment, the object location
   radars , radio frequency identification (RFID ) tags, and vari- event relates to information about a location of an object and
   ety of other technologies that can be used to determine 25 information about a zone that is defined by a user. The
   location information pertaining to an object, which might be information about the location can be derived from a loca
   moving or stationary. Such location information has been    tion information source that is associated with the object.
   used to track vehicles, packages , people , etc . and to enable
                                                               Under this embodiment, the object location event occurs by
   a variety of location aware applications including location satisfaction of a defined relationship or condition between
   aware toll systems, material handling and supply chain 30 the object location information and user- defined zone infor
   management systems, and the like . Thus far, such location  mation . Once the condition is satisfied , information corre
   aware applications havemostly involved computing devices sponding to the occurrence of the object location event is
   specifically programmed to provide location - aware func -     conveyed to a computing device . In one embodiment of the
   tionality in a useful but predetermined manner. For example , invention , the information is conveyed to the computing
   scanners have been used as sources of information to convey 35 device in accordance with a corresponding user identifica
   the locations ofshipping containers as they progress through         tion code .
   various stages en route to a destination , where the specific          In one exemplary embodiment, a user can associate a
   location of a given shipping container on a shipping dock or         source of location information with an object and define a
   in a cargo hold can be accessed at any given time via a zone. Under this arrangement, any other authorized user that
   control system .                                       40 has access to information about location of an object and a
      Technological advancements in computing devices and user- defined zone can also define an object location event for
   information networks, in particular wireless networks, have          that zone and receive information about occurrence of the
   enabled users of a variety of computing devices such as              event. Under another arrangement, only the user who defines
   smart phones, personal digital assistants ( PDAs), laptop            a user -defined zone can define an object location event for
   computers , etc . to access and utilize information in more and 45 that zone .
   more locations . For example, such advances now allow                  In a further embodiment, an access code is associated with
   users to wirelessly check their email or to surf the Internet        information about the location of an object. Under this
   from anywhere that is covered by an appropriate data                 embodiment, the object location information is conveyed to
   service . Some computing devices have become equipped                the computing device based upon the user identification
   with technologies that integrate various sources that provide 50 code and an access code associated with the location infor
   information about the location of the devices. For example ,         mation . Under another arrangement, only the user that
   known mobile devices have been equipped with GPS receiv              associates a source of location information with an object
   ers, which enable the users to know where they are located           can associate the access code with the object location
   at any given time.                                                   information as determined by the source of location infor
      As sources that offer location information become more 55 mation .
   useful in computing devices and within information net-         In yet another embodiment, an access code is associated
   works, there is a need for a system and method that with the user-defined zone information . Under this embodi
   correlates events with location of objects and conveys ment, the user-defined zone information is conveyed to at
   information about such events to computing devices.                  least one of the computing devices based upon a correspond
                                                                     60 ing user identification code and an access code for the
              SUMMARY OF THE INVENTION                                  user - defined zone information . Under another arrangement,
                                                                        only the user that defines a user-defined zone can associate
      Briefly , the present invention relates to conveying infor-       the access code with the user-defined zone information.
   mation relating to an object to one or more users . The                In still another embodiment, an access code is associated
   invention requires defining a zone by the one or more users . 65 with information about an object location event. Under this
   An event is also defined in terms of a condition related to a        embodiment, the information about the object location event
   relationship between an object location and the zone. The            is conveyed to at least one of the computing devices based




                                                                                                                                       Exhibit B
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   upon a corresponding user identification code and an access               FIG . 12a illustrates an exemplary Tracking Setup Screen
   code for the object location event information . Under                 of the Location and Tracking software used to control the
   another arrangement, only the user that defines the object             rate at which GPS data is polled ;
   location event can associate the access code with the object     FIG . 12b illustrates an exemplary Log File Selection
   location event information .                                 5 Screen of the Location and Tracking software used to select
                                                                  a log file for storing GPS information ;
         BRIEF DESCRIPTION OF THE DRAWINGS                                  FIG . 13a illustrates an exemplary Map Screen of the
                                                                          Location and Tracking software used to display a map
      The present invention is described with reference to the            received from a map server;
   accompanying drawings. In the drawings, like reference 10                FIG . 13b illustrates an exemplary Data Screen of the
   numbers indicate identical or functionally similar elements.           Location and Tracking software used to manage conveyance
   Additionally, the left-most digit ( s ) of a reference number of tracking and zone information to specific users based on
   identifies the drawing in which the reference number first access        codes ;
                                                                       FIG . 13c illustrates an exemplary Zone Screen of the
   appears.
                                                               vi 15 Location and Tracking software used to define user -defined
      FIG . 1 illustrates an exemplary information - sharing envi
   ronment including computing devices having wired or wire zones;
   less connectivity to the Internet and a map server, and Location    FIG . 13d illustrates an exemplary Size Screen of the
                                                                              and Tracking software used to manage the size and
   various objects for which location information sources pro other characteristics       of a displayed map ;
   vide object location information ;                                20     FIG . 13e illustrates an exemplary About Screen of the
      FIG . 2 illustrates an exemplary map retrieved from the             Location and Tracking software used to provide a notice
   map server of FIG . 1 via the Internet that includes an icon           concerning Tracking Privacy Issues, software version infor
    indicating a location of a vehicle relative to three user             mation , and copyright information ;
   defined zones.                                                    FIG . 14 illustrates an exemplary Group Screen of the
      FIG . 3 illustrates a first embodiment of a method of the 25 Location and Tracking software used to manage information
   invention where object location event information is con -      corresponding to groups of contacts ;
   veyed to computing devices based upon user identification                FIG . 15 illustrates an exemplary Contact Screen of the
   codes ;                                                                Location and Tracking software used to manage information
     FIG . 4 illustrates a second embodiment of a method of the           corresponding to contacts ;
   invention where object location information is conveyed to 30 FIG . 16 illustrates an exemplary Camera Screen of the
   computing devices based upon an object location informa Location and Tracking software used to manage pictures to
   tion access code and user identification codes , and object be associated with contact location information ;
   location event information is conveyed to computing               FIG . 17 illustrates an exemplary Big Buttons Screen of
   devices based upon user identification codes;                   the Location and Tracking software used to provide easy
      FIG . 5 illustrates a third embodiment of a method of the 35 access to key application commands while walking or
   invention where user-defined zone information is conveyed driving;
   to computing devices based upon a user-defined zone infor          FIG . 18 illustrates an exemplary Map Viewer Web Page
   mation access code and user identification codes , and object used for displaying maps and other information conveyed by
   location event information is conveyed to computing the Location and Tracking software;
   devices based upon user identification codes;                     40     FIG . 19 illustrates an exemplary Contact Viewer Web
      FIG . 6 illustrates a fourth embodiment of a method of the          Page used for displaying contact information conveyed by
   invention where object location event information is con -             the Location and Tracking software;
   veyed to computing devices based upon an object location                 FIG . 20 illustrates an exemplary web page -based display
   event information access code and user identification codes ;          of a map overlaid with GPS tracking and zone information
     FIG . 7 illustrates a fifth embodiment of a method of the 45 conveyed by the Location and Tracking software ;
   invention where object location information are conveyed to      FIG . 21 illustrates an exemplary web page for creation of
   computing devices based upon an object location informa a zone used by the Location and Tracking software ;
   tion access code and user identification codes , user- defined           FIG . 22 illustrates an exemplary map displayed on a web
   zone information is conveyed to computing devices based                page depicting logging of contact location information while
   upon a user - defined zone information access code and user 50 a contact is within a zone and logging of contact location
   identification codes , and object location event information is        information when a contact enters or leaves a zone; and
   conveyed to computing devices based upon an object loca                  FIG . 23 illustrates an exemplary map displayed on a web
   tion event information access code and user identification    page depicting a picture associated with a location of a
   codes ;                                                       contact .
      FIG . 8 illustrates an exemplary PDA Application Launch 55
   Screen used to begin execution of a Location and Tracking               DETAILED DESCRIPTION OF THE
   software as implemented according to the present invention;                                    INVENTION
      FIG . 9 illustrates an exemplary Main Screen of the
   Location and Tracking software from which additional                    The present invention will now be described more fully in
   screens are accessed ;                                            60 detail with reference to the accompanying drawings, in
     FIG . 10 illustrates an exemplary Configuration Screen of            which the preferred embodiments of the invention are
   the Location and Tracking software used to manage infor -              shown . This invention should not, however, be construed as
   mation corresponding to the user of the PDA ;                          limited to the embodiments set forth herein ; rather, they are
      FIG . 11 illustrates an exemplary GPS Screen of the                 provided so that this disclosure will be thorough and com
   Location and Tracking software used to manage a GPS 65 plete and will fully convey the scope of the invention to
   receiver that is associated with a user ' s PDA via a Bluetooth        those skilled in the art. Like numbers refer to like elements
   connection ;                                                           throughout.




                                                                                                                                      Exhibit B
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      The present invention provides a system and method for         information -sharing environment that includes company
   defining an event that relates to a location of an object and     employees, affiliates, Board members , guests, etc . A division
   managing the conveyance of related information among              within
                                                                     WIL    a company may set up its own information -sharing
   computing devices associated with corresponding user iden -       environment, and so on . A family can set up its own
   tification codes. In accordance with the present invention , an 5 information - sharing environment and an individual may set
   information -sharing environment consists of a computing          up his or her own information -sharing environment . As
   network including a map server and computing devices .            such , each information - sharing environment can be admin
   Objects associated with sources of location information            istered so as to manage conveyance of information among
   provide object location information comprising one or more        computing devices based on user identification codes. Man
   coordinates . In an exemplary embodiment, the coordinates 10 agement of users , groups, domains, and publicly available
   correspond to one or more determined locations of the             object location information sources is described in greater
   objects within an established coordinate system . In the          detail below .
   system and method of the present invention , an object can          Referring to FIG . 1 , information - sharing environment 100
   comprise any device , thing, person or entity that can be includes computing network 102 having wired and wireless
   located or tracked . A user of a computing device can retrieve 15 network links 104 , 106 and connectivity to the Internet 108
   a map , for example, from a map server and define a               that provides access to a map server 110 and map informa
   user-defined zone on the map . According to one aspect of the tion 112 . Also shown are objects associated with sources that
   invention , an object location event is defined based on a       provide object location information . Location information
   relationship between one or more object locations and one or sources are shown including Global Positioning System
   more
   m     user-defined zones, where the occurrence of the object 20 (GPS ) satellites 114a and GPS receivers 114b . Examples of
   location event is determined when a condition associated various types of computing devices are shown interfacing
   with the relationship is satisfied . Thus , an occurrence of the with the computing network 102 including a PDA 116a ,
   object location event is determined based on object location PDA having a GPS receiver 116b , a wireless smart phone
    information and user - defined zone information . In other     118a, a wireless smart phone having a GPS receiver 118b , a
   words, an object location event is determined based on the 25 laptop computer 120a , a laptop computer having a GPS
   location of an object relative to a user - defined zone. More  receiver 120b , a personal computer 122a , a personal com
   generally, an object location event may be determined based puter having a GPS receiver 122b , and a digital television
   on the location (s ) of one or more objects relative to one or 124 . Typically , one or more of the computing devices could
   more user -defined zones . Upon occurrence of the object       be used as a control station . FIG . 1 also illustrates various
   location event, object location event information is con - 30 examples of objects ( e. g., devices, things , people , vehicles ,
   veyed to at least one computing device based upon a            animals, etc .) that can be associated with location informa
   corresponding user identification code(s ) associated with the tion sources enabling object location information to be
   computing device(s ).                                          conveyed to computing devices . Examples of such objects
       The present invention can be implemented in a variety of depicted in FIG . 1 include a fireman 126a, semi truck 126b ,
   information -sharing environments. The sharing of informa- 35 crate 126c, car 126d , cow 126e, woman 126f, soldier 126g,
   tion may be managed among a small number of users such        child 126h , dog 126i, and a building 126j. Generally , any
   as a family or group of friends, or among a very large        object can be associated with a location information source
   number of users such as among employees of very large in accordance with the present invention including the
   business , or among a worldwide user base such as a might computing devices themselves . Such objects may be out
   be provided via an Internet service . Furthermore , informa - 40 doors or indoors and may be included within another object
   tion - sharing environments may involve information - sharing such as, for example , a crate 126c within a semitruck 126b .
   environments within information - sharing environments. Such objects may be mobile or fixed . At any given time,
    That is , one or more smaller information - sharing environ     mobile objects may be moving or stationary . An object may
   ments may overlap or coexist independent of each other located in any place , or be any thing. Examples of a place ,
   within one or more larger information - sharing environ - 45 or thing, in accordance with the invention include a restau
   ments .                                                      rant, gas station , destination , airport, hospital, first aid sta
      In one embodiment , one or more administrators may be          tion , hazardous location , vehicle repair shop , shopping mall,
   given privileges to configure the information - sharing envi-     museum , park , residence , business , train station , bus station ,
   ronment. Such configuration could include specifying autho -      post office , bank , police station , first station , department
   rized users of the environment and their access privileges, 50 store, or storage bin .
   etc . Such configuration can also define groups of users as          Although FIG . 1 depicts a wireless network tower to
   part of an established organizational structure associated        represent wireless connectivity , any of various well known
   with the information - sharing environment . Pre -defined         forms of networking technologies such as WI-FI, Wireless
   zones comprising domains can be configured along with             USB , cellular, Bluetooth , optical wireless , etc . can be used
   events that define relationships between object locations 55 alone or in combination to provide the wired and / or wireless
   relative to such domains. Moreover, sources of publicly           connectivity among the computing devices. Furthermore ,
   available object location information , such as weather track -   any of various other location information sources can be
   ing systems; can also be configured for use with the system       used in place of or in combination with GPS to provide
   and method of the present invention . Because smaller infor -     object location information . Alternative location informa
   mation - sharing environments can exist within larger infor- 60 tion sources include cellular network based wide area loca
   mation - sharing information environments , various levels of   tion systems, infrared -based location systems, ultrasound
   administrator privileges can exist. For example , an Internet   based location systems, video surveillance location systems,
   service based on the present invention can be provided and        RF signal-based location systems such as WLAN -based
   administered such that anyone having access to the Internet       location systems, ultra wideband location systems, and near
   can purchase the service and be an authorized user. A 65 field electromagnetic ranging location systems. GPS sys
   purchaser of the service can set up a company -wide infor -       tems may be augmented using space based augmentation
   mation - sharing environment within the larger world -wide        systems (SBAS ) and /or local area augmentation systems




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   (LAAS), radar -based information sources, and a data file .        are compared to those included in the access code whereby
   GPS systems can be outdoor GPS sources or indoor GPS               a match would indicate the user is authorized to receive the
   sources. Alternatives to GPS also include GLONASS and              information . As such , the information is conveyed to those
   Galileo . Generally , any form of location information system      computing devices that are associated with the users having
   can be used that can provide a coordinate of an object 5 access to the information as specified by the access code.
   allowing an icon indicating the object location to be depicted       Under another arrangement , an access code is assigned to
   on a map .                                                         information in the form of a user -defined access code (i.e.,
     In accordance with the present invention , the users of the      a password ) that a given user must have knowledge of in
   computing devices each have user identification codes that order to be granted access to the information . With this
   can be associated with the computing devices in order to 10 approach , the user associating the access code with infor
   manage the conveyance of information to the computing mation defines the user -defined access code and then con
   devices based upon the identify of the user and information veys the user- defined access code to other trusted users to
   access privileges . Such user identification codes may be          which the user desires to have access to the information .
   managed by a control station or may be established based on        Those trusted users must enter the access code into their
   user unique user information . Such codes would typically 15 computing devices in order to be granted access to the
   include an identifier ( e.g ., a user account name or user         information .
   number) and can be associated with one ormore groups, and            Under still another arrangement, an access code specifies
   one or more information access privilege classifications, etc .    the individual users or groups having access to the infor
   For example, a given user may be included in a group               mation to which the access code is associated provided a
   indicating members of a family , a company , a club , or an 20 given user knows the password . As such , the access code
   association . Similarly , employees of a company may belong        may specify one or more users and/or one or more groups
   to one or more defined groups within the company ( e . g .,        that can enter the appropriate password in order to access the
   Management, Engineering, Accounting, etc.). Membership             information . With this approach there are two conditions that
   within a group may indicate the user can have access to            must be met to gain access, being included on the access list
   confidential information such as company proprietary infor- 25 and having knowledge of the password allowing access to
   mation or classified information such as the coordinates of        information to be managed by changing the access list
   military assets on a battlefield . Access to confidential infor-   and /or changing the password .
   mation may also be based on an access privilege classifica -         Under yet another arrangement, an access code may
   tion, such as a security clearance level. In accordance with       include a clearance classification code such as Proprietary ,
   the invention , a user ' s access privileges can change by 30 Confidential, Secret , Top Secret, etc . These access codes
   entering or leaving a domain , for example , the premises of       may also specify individual users or groups and may be used
   a shopping mall, a particular store within a shopping mall,        with passwords. For example , employees of a company
   a museum , a restaurant , an airport, etc . The use of domains     having at least a Secret clearance classification that know the
   in accordance with the present invention is described in           password are provided access to certain information . Gen
   greater detail below . Furthermore , user identification codes 35 erally , many different variations of access code approaches
   are typically associated with other user information such as       can be used to practice the present invention .
   the user name, title, address information , email address,            FIG . 2 illustrates an exemplary map 200 retrieved via the
   phone numbers , etc . As such , user identification codes can      Internet from a map service provider, such as YAHOO !,
   be associated with computing devices and used to manage            displayed on a PDA or other computing device . Any map
   the conveyance of information among the computing 40 available from any of various map providers via the Internet
   devices . Association of a given user identification code with     can be used in accordance with the present invention .
   a given computing device may be via a user login process           Referring to FIG . 2 , map 200 depicts an area including a
   whereby a user enters a user account name and password .           portion of Huntsville , Ala . alongside part of Redstone Arse
   Certain computing devices (e .g ., a PDA or smart phone ) may      nal, Ala . Shown on the map is an icon 202 that indicates the
   allow a user identification code to be embedded or pro - 45 location of a car equipped or somehow associated with a
   grammed into a computing device 's memory such that any            source of location information , such as GPS . The location
   user of the computing device is considered to be the user          information source determines the location of the car and
   owning the device .                                                conveys the object location information to the computing
     In accordance with the present invention , access codes          environment to which the computing device displaying the
   can be associated with information to manage the convey - 50 map is interfaced .Most location information sources include
   ance of the information to computing devices. Specifically,        communications capabilities enabling them to convey object
   an object location information access code can be associated       location information . Also shown in FIG . 2 are three user
   with object location information . A user -defined zone infor      defined zones 204 , 206 , and 208 . Such user-defined zones
   mation access code can be associated with user- defined zone       can be defined using various graphical techniques such as
   information and / or an object location event information 55 selecting a point and dragging to another point causing a
   access code can be associated with object location event           rectangular shaped zone (like 208 ) to be defined . Alterna
   information . These access codes can be used in various            tively , a point can be selected indicating the center of a
   ways . In one arrangement, an access code specifies the            circular zone and a dragging action made to define a range
   individual users and / or groups of users having access to the     of the circular zone (like 206 ). Various other common
   information to which the access code is associated . Such an 60 drawing techniques such as free form drawing can be used
   access code would typically include specific user identifi-        to define a zone not having a basic shape ( like 204 ).
   cation codes and/ or group codes . For example , by a user         Furthermore , non drawing techniques can be employed to
   logging into a computing device, a given user identification       define a user- defined zone including use of coordinates
   code is associated with the computing device . The user            stored in a database . For example , the perimeter coordinates
   identification code may also be associated with one or more 65 of a surveyed property that are stored in a database could be
   groups having corresponding group identification codes .           automatically used to define a user - defined zone in accor
   The user identification code and group identification code(s )     dance with the invention .




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      In accordance with the present invention , one or more           indicating the location of the car as it travels between the
   object location events can be defined relating a given              user -defined zones or to home. The emails received based on
   user-defined zone to the location of a given object or objects .    the defined events provide a record of the daughter' s enter
   Occurrence of an object location event can result in gener          ing and leaving the three user-defined zones and can be used
   ating relevant information i. e ., object location event infor- 5 to indicate characteristics of movement including the speed
   mation ) or performing a function ( i. e ., object location event of a vehicle .
   function ). The object location event function can include             FIG . 3 illustrates a first embodiment of a method of the
   generating a time/date stamp, send an email , place a call ,        invention where object location event information is con
   sound an alarm , etc . Thus, an object location event in            veyed to computing devices based upon user identification
   accordance with the invention can require the performance 10 codes . Referring to FIG . 3 , a first embodiment of a method
   or control of a function based on an object location relative        300 of the invention consists of six steps 302 -312 . The first
   to a user -defined zone. An object location event can , for         s tep 302 is to associate user identification codes with com
   example , be defined to occur when a specific object or any          puting devices. The association can be an embedded asso
   one or more objects enter, leave , or are within a defined          ciation , for example, programming the user identification
   proximity of a user -defined zone . An object location event 15 code in the memory of the computing device , or it can be
   may also be defined to occur periodically as long as an             accomplished via a log - in process at the computing devices
   object is outside a user-defined zone or inside a user-defined      using the user identification codes. The second step 304 is to
   zone. Alternatively, an object location eventmay be defined         associate a location information source with an object . Such
   to occur when the location of an object is determined to be         association may involve equipping or attaching the object
   within a given proximity of a user -defined zone, for 20 with or to the source of location information . A third step
   example , within 500 feet of a user - defined zone correspond - 306 is to define a zone . The zone can be defined by a user
   ing to the grounds of a school, a shopping mall , a building ,      at any time. A fourth step 308 defines an object location
   an army base , etc . An event may also be defined to occur          event in termsof a relationship between information relating
   when one or more objects or specific objects have entered or        to the object location and user - defined zone . The fifth step
   exited one or user -defined zones or specific user -defined 25 310 is to determine an occurrence of the object location
   zones .                                                        event for example by detecting entry into , exit from or
     Referring again to FIG . 2 , an example scenario is               proximity with the user -defined zone. A sixth step 312 is to
   described relating the location of the vehicle 202 to the three     convey object location event information to computing
   user -defined zones 204 , 206 , and 208 . The exemplary sce -  devices based upon the user identification codes , for
   nario involves a mother desiring to track the location of a 30 example , by sending an e -mail. The step 312 can also
   teenage daughter while she drives the vehicle 202 . The             involve performing a function such as generating an alarm .
   vehicle 202 is equipped with a location information source             In accordance with one embodiment of the invention , any
   ( e. g ., a GPS receiver ) and is configured to transmit the        user can associate a source of location information with an
   location of the car at some data rate ( e. g., transmits location   object, define a user-defined zone , and define an object
   every 5 seconds) when the car is powered on i. e ., car key 35 location event. As such , in relation to the example scenario
   is in the on position ). The mother sets an object location         of FIG . 2 , steps 304 - 308 of method 300 are used by the user
   information access code such that only the mother, specifi-         (i. e ., a mother ) to associate a GPS device with her daughter' s
   cally , a PDA or other computing device used by the mother ,        vehicle and define three user-defined zones corresponding to
   has authorized access to the object location information of         the ballpark parking lot, restaurant, and university library.
   the vehicle 202 . The mother and daughter discuss her 40 The user can also define object location events in terms of
   scheduled activity for the day and the corresponding travel         conditions that relate to entering into , leaving from or being
   among different places the daughter plans to go . According         in the proximity of the three user-defined zones . As stated
   to the daughter ' s schedule , the daughter is to attend a          above, upon the occurrence of the object location events ,
   softball game at a local ballpark , have lunch with friends at       information can be conveyed to the mother 's computing
   a local restaurant, and then go to a library on the campus of 45 device via emails . Occurrence of event can also result in
   a local university to do research for a paper .                     performance of certain functions , e . g ., causing the mother 's
      After discussing the daughter ' s plans for the day , the        PDA to beep .
   mother , using a PDA , retrieves a map and defines the three           In addition to or alternatively to the event information ,
   user - defined zones relating to three locations the daughter is     object location and /or zone information can be conveyed to
   supposed to be at during the day . Specifically , the mother 50 the computing devices based on user identification codes,
   creates the three user- defined zones 204 , 206 , 208 corre         which comprise a first level of access control. The convey
   sponding to the ballpark parking lot, restaurant, and univer-       ance of any one or combination of the foregoing informa
   sity library , respectively , and defines object location events tion , i.e ., location , zone and/ or event, can be to the same
   for each user - defined zone. For each of the three user         users or groups or different users or groups . A second , third ,
   defined zones 204 , 206 , and 208 , the mother defines an 55 or additional layers of access control can also be applied to
   object location event where the mother will receive an email        any one or combination of the location , zone and /or event
   indicating the occurrence and time of the object location           information using corresponding access codes as further
   events , which correspond to when her daughter' s car enters        described below .
   or leaves any of the three user - defined zones. The mother           Referring to FIG . 4 , another embodiment of a method 400
   defines each of the three ' leaving user-defined zone' object 60 of the invention consists of six steps 302 - 312 of the first
   location events such that when they occur they cause her         method 300 along with two additional steps 402 , 404 . As
   PDA to make a sound ( e. g ., beep ). The user - defined zones      with the first method 300, the first two steps 302 , 304 of
   and defined object location events allow themother to know          method 400 associate user identification codes with com
   when the daughter has safely arrived at the three places the        puting devices and associate a source of location informa
   daughter is to go that day . Furthermore , when the PDA 65 tion with an object . With method 400 , however , the added
   beeps, the mother knows the daughter is in transit and can          two steps 402 , 404 associate an access code with the object
   view the displayed map on the PDA to watch the icon                 location information and convey the object location infor




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   mation to computing devices based upon the access code of          allowing both parents to see the icon indicating the position
   the object location information and user identification codes      of the daughter's car in relation to the three user-defined
    The final four steps 306 -312 ofmethod 400 are the same as        zones. In an alternative embodiment, any user having access
   those of method 300, including conveying object location           to the user-defined zone information is enabled to define an
   event information to computing devices based upon user 5 object location event relating object location information to
   identification codes.                                              the user- defined zone information . Thus, under one arrange
      Thus, FIG . 4 illustrates an embodiment where the object        ment, only the user who defines a user-defined zone can
   location information can be accessed by those users that           define an object location event relating to the user - defined
   have knowledge of the access code of the object location           zone, while under another arrangement, any user (s ) having
   information . Under this embodiment, the user can give the 10 access to user - defined zone information can define an object
   access code to other trusted users for accessing the location      location event relating to the corresponding user - defined
   information . Those having the knowledge of access code for        zone.
   the location information may or may not have access to other         FIG . 6 illustrates a fourth embodiment of a method of the
   information such as the zone or event. Alternatively, users        invention where object location event information is con
   may be granted access to the object location information 15 veyed to computing devices based upon an object location
   based on the access code without having knowledge of the    event information access code and user identification codes .
   access code.                                                 Referring to FIG . 6 , a fourth embodiment of a method 600
      In accordance with another exemplary embodiment, any       of the invention consists of five steps 302 - 310 of the first
   one user can associate a location information source with an method 300 along with two additional steps 602 , 604 . As
   object, define a user -defined zone, and define an object 20 with the first method 300 , the first four steps 302 , 304, 306 ,
   location event. The user that associates a location informa-       308 ofmethod 600 associate user identification codes with
   tion source with an object can also associate an access code       computing devices , associate a location information source
   with the object location information provided by the source .      with an object, define a user-defined zone, and define an
   As such , in relation to the example scenario of FIG . 2 , the     object location event in terms of a relationship between
   mother can facilitate the conveyance of the object location 25 object location information and user-defined zone informa
   information to another trusted user, who has knowledge of          tion . With method 600 , however, step five 602 associates an
   the access code , such as the father of the daughter. The          object location event information access code with the
   mother may or may not allow conveyance of the zone or              object location event information relating to the object
   event information to the father. Alternatively, a user may be      location event. After step six 310 determines the occurrence
   granted access to the object location information based on 30 of an object location event, step seven 604 conveys object
   the object location information access code without having         location event information to the computing devices based
   knowledge of the access code.                                      upon an access code for the object location event informa
     Referring to FIG . 5 , a third embodiment of a method 500        tion and user identification codes. Thus, by using the object
   of the invention consists of six steps 302 -312 of the first location event information access code , the mother could
   method 300 along with two additional steps 502 , 504 . As 35 enable both parents to receive the object location event
   with the first method 300 , the first three steps 302, 304, 306    information corresponding to the object location events
   ofmethod 500 are to associate user identification codes with       defined by the mother . In other words, both parents could
   computing devices, to associate a location information             receive emails indicating when the daughter entered or
   source with an object, and to define a user -defined zone .        exited one of the three user-defined zones . In accordance
   With method 500 , however, the added two steps 502 , 504 40 with a preferred embodiment of the invention , the user that
   also associate an access code with the user- defined zone          defines object location events can also associate access code
   information . As a result, zone information can be conveyed        for information that correspond to object location events. By
   to the computing devices based upon the access code for the        also associating object location event information access
   user - defined zone information and user identification codes.  codes with the defined object location events , the mother can
   The final three steps 308 - 312 ofmethod 500 are the same as 45 enable the object location event information to be conveyed
   those of method 300 , including conveying object location       to another user with knowledge of such access code , such as
   event information to computing devices based upon user             the father of the daughter. Thus, with the method 600 in
   identification codes. The event information under this             relation to the example of FIG . 2 , the father would receive
   embodiment however may or may be conveyed to those                 the object location event information but may or may not
   users with knowledge of the user -defined zone information 50 receive object location information or user -defined zone
   access code. As such , in relation to the example scenario of      information .
   FIG . 2, the method 500 enables the user (i.e ., the mother) to      In an alternative arrangement, steps 502 and 504 of
   associate a GPS device with her daughter ' s vehicle , to define method 500 could also be used with method 600 whereby a
   three user - defined zones, and to define object location events user ( e . g ., the mother ) also associates an access code with
   associated with the three user-defined zones causing, upon 55 the user -defined zone information for conveyance to another
   the occurrence of the object location events , emails to the       user with knowledge of such access code (e. g., the father ).
   sent to the mother and her PDA to beep . By also associating       Under such an alternative arrangement, the object location
   user -defined zone information access codes with the three         event can be defined by any user ( s ) having access to the
   defined user -defined zones , the mother also enables the          user - defined zone information or only the user that defined
   user -defined zone information to be conveyed to another 60 the user -defined zone . In either case , only the user that
   user with knowledge of the access code, such as the father         defines an object location event can associate an object
   of the daughter.                                                   location event information access code with object location
       In a further embodiment, steps 402 and 404 of method event information corresponding to the object location
   400 could also be used with method 500 , whereby the user        event.
   (i.e ., the mother ) also associates an object location access 65 FIG . 7 illustrates a fifth embodiment of a method of the
   code with the object location information such that both the     invention where object location information is conveyed to
   mother and father receive the object location information computing devices based upon an object location informa




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   tion access code and user identification codes , user -defined        more coordinate systems can be established by an adminis
   zone information is conveyed to computing devices based               trator to describe object locations within an information
   upon a user- defined zone information access code and user            sharing environment. The coordinate system may be estab
   identification codes, and object location event information is         lished to accommodate the coordinate system used by any
   conveyed to computing devices based upon an object loca - 5 suitable map service . A typical coordinate system is known
   tion event information access code and user identification  as the latitude , longitude , and height system . Alternative
   codes. Referring to FIG . 7 , in the method 700 , the steps of coordinate systems include the Earth Centered , Earth Fixed
   method 600 are again used with the addition of the two steps      Cartesian (ECEF X - Y - Z ) coordinate system , Universal
   402, 404 of method 400 and the two steps 502, 504 of               Transverse Mercator (UTM ) coordinate system , Military
   method 500 . With these additional four steps , when referring 10 Grid Reference System (MGRS ), World Geographic Refer
   to the example of FIG . 2 , the mother could associate object ence System (GEOREF ), Universal Polar Stereographic
   location information access codes and user -defined zone              projection (UPS ), national grid systems, state plane coordi
   information access codes with object location information             nates, public land rectangular surveys, metes and bounds,
   and user- defined zone information , respectively , in such a          etc . A coordinate system may also be established corre
   way as to allow both parents to receive emails, beeps, and 15 sponding to a domain , for example , an office building or a
   view the movement of the daughter ' s car using their respec -         shopping mall . Additionally, one or more users may define
   tive PDAs.                                                             a coordinate system for example, making the location of a
      In accordance with the present invention , an administrator        user 's home or business or a user ' s own location the (0 ,0 )
   of an information - sharing environment maintains a database          reference point within an X - Y coordinate system . As such ,
   of user information for those having access to the informa- 20 computing devices used in accordance with the invention
   tion - sharing environment. Such a database can be main               may include means for translating between coordinate sys
   tained on a central or distributed control station that may be         tems. Coordinate systems may be based upon the location
   a company ' s computer server or on an individual' s personal          information source( s ) used . For example , a GPS receiver
   computer. Information maintained for a user typically                 location information source may be placed at a location , for
   includes a user account name and password and a user 25 example the entry door of a building, and its GPS location
   identification code, and may include a variety of information in latitude and longitude and height used as a ( 0 , 0 , 0 )
   about the user including the user' s name, address , phone    reference point for a coordinate system used inside the
   number( s ), email address (s ), company name, title , birth date ,   building along with a second location information source
   etc . A user may be given access privileges to certain classes        such as UWB system better suited for indoor operation . As
   of information based on the user ' s position or role within a 30 such , one or more coordinate systems established by an
   company or family , a Government security clearance, and /or          administrator or by a user of an information - sharing envi
   for other reasons deemed appropriate for a given informa-             ronment can be used to provide object location information .
   tion - sharing environment.                                              In accordance with the present invention , when a user
      An administrator can define one or more groups to which             associates multiple location information sources with an
   a given user can be associated . Groups may be defined in 35 object, the user can determine whether or how the object
   accordance with an organizational structure or hierarchy . For        location information is used ( e. g ., combined ). In particular,
   example , an administrator for an information -sharing envi-          the user can determine how handoffs are to occur between
   ronment corresponding to a company may define groups for              location information sources such as switching among avail
   the various organizations within the company, such as legal,           able GPS satellites based on received signal strength or
   accounting, shipping , etc ., and for groups of users not based 40 switching between a GPS and UWB system when a user
   on organization , such as executive, management, adminis              goes indoors , which might be based on loss or degradation
   trative, exempt employees, non - exempt employees, etc .              of a GPS signal. Handoff among location information
   After a group has been defined , the administrator can          sources can be based upon object location information .
   associate individual users with one or more of the defined        In accordance with the present invention , a user that
   groups . Similarly , a parent administering an information - 45 associates an information location source with an object can
   sharing environment might define groups such as parents,               determine how often object location information is updated .
   teenagers , children , drivers, and so forth . Information main       Under one arrangement, the user can determine the rate at
   tained for a group typically includes a group name and group          which object location information is provided . Under
   identification code , and may include a variety of information        another arrangement, object location information may be
   about the group including the group ' s address , phone num - 50 provided by the location information source at a certain rate
   ber, email address, website , point -of-contact, etc . As such , a    which the user may select as the appropriate update rate or
   user may be associated with one or more groups defined by             the user may select to update object location information
   an administrator of an information - sharing environment.             less often or to only maintain (or use ) the current object
      In accordance with the present invention , any user can             location information . Depending on whether object location
   define a group , for example , a group of friends , a study 55 information is being logged (i. e ., stored ) and /or conveyed to
   group , etc . Information for such user - defined groupsmay be other users, decisions concerning the update rate typically
   maintained in a central database or may be maintained on an involve a tradeoff of available storage capabilities (e.g ., in
    individual user 's computer. As such , knowledge of the memory , to a physical storage media , etc .) versus granularity
    defined group my be available to other users of an informa- of stored object location information and resulting accuracy
    tion - sharing environment or may bemaintained solely for an 60 of its display on a map . For example , object location
    individual user's benefit.                                      information stored in a log file once every 5 seconds would
      In accordance with the present invention , one or more             allow a more accurate display of the movement of a vehicle
   location information sources can be associated with an                than object location information stored once per minute , but
   object to provide object location information consisting of a         the once per 5 second update rate requires twelve times the
   one or more coordinates corresponding to one or more 65 storage space compared to the space required to store object
   determined locations of the object within an established              location information once per minute . When only maintain
   coordinate system . In accordance with the invention , one or         i ng the current object location information , the same




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   memory / storage location can be repeatedly rewritten . The       mall. A map may correspond to a battlefield . As such , map
   selected update rate also determines how often the object         information corresponding to a given electronic map would
   location information can be conveyed to users . The user can      be accessible to the computing devices of the information
   also determine whether a time stamp is associated with each       sharing environment receiving object location information ,
   update to indicate the actual time that an object was at a 5 zone information , and / or object location event information
   given location .                                                  that is to be displayed on the map . However, certain types of
     As previously described , the user that associates an infor-    devices may be included in the information sharing envi
   mation location source with an object can also associate an       ronment that do not have the ability to receive or display a
   object location information access code with the object           map but that can receive useful object location information ,
   location information provided by the information source and 10 zone information , and / or object location event information ,
   can thereby manage the conveying of the object location           nonetheless . For example , an expecting woman might define
   information to one or more users. As generally described          a zone around her hospital and an object location event
   above , an object location information access code can            causing her Blackberry to call her sister 's cellular telephone
   specify individual users or groups allowed access to the          when her car enters the zone telling her that she has safely
   object location information , may specify a password a user 15 arrived at the hospital to deliver her baby .
   must know to receive access to the object location informa-        Various commonly used map display management tech
   tion , and/ or may include a clearance classification code . As niques can be employed in accordance with the present
   such , the object location information access code determines   invention . For instance, an automatic zoom level selection
   which user( s ) are conveyed the object location information . schememay be established where the zoom level defaults to
      In accordance with the present invention , a user that 20 the closest in level that can display all user-defined zones .
   associates an information location source with an object can      An automatic centering approach might set the center of the
   determine whether to store object location information in a       map to correspond to the location of a given object such as
   log file , which can be played back . The storage of object       the current location of a user or to the average location of
   location information to a log file may be the result of the       multiple objects . Icons can be set to flash to indicate
   occurrence of a defined object location event. For example , 25 movement or non -movement of an object. Colors of lines or
   a user could define two zones, a first object location event      areas indicating a zone may change when an object has
   that starts logging object location information when an           entered or exited the zone. Such map display management
   object exits the first zone, and a second object location event   techniques may be controllable by an administrator and / or
   that ends the logging of object location information when         by individual users . In accordance with the present inven
   the object enters the second zone, thereby allowing the 30 tion , a user can define a user-defined zone on a map that can
   movement of the object between the two zones to be               then be used to define an object location event relating object
   reviewed at a later time. Alternatively , object location infor- location information to user -defined zone information . A
   mation may be provided by a simulation . For example , user-defined zone can be defined graphically using various
   military officers could define battle plans based upon move      techniques such as selecting a point and then dragging to
   ment of personnel and equipment having location informa- 35 another point to define either a rectangular shaped zone or a
   tion sources into and out of defined zones and corresponding      circular zone, drawing a zone by freehand to create a zone
   object location events . For training purposes , the movement     having an oddly shaped boundary , etc . As such , a user
   of personnel and equipment could be produced by a simu -          defined zone has a boundary that can be specified in accor
   lation that inputs the object location information into the     dance with an established coordinate system . Typically
   information sharing environment allowing the military offi - 40 user -defined zone information maintained for a user -defined
   cers to react by changing plans , defining new zones , new      zone includes a zone identification code and its boundary
   object location events , etc . Furthermore , object location    coordinates and may include a zone name, a zone security
   information may by provided by emergency information              level, a zone danger level, etc . Generally , a user that defines
   sources, which might indicate the location of a fire , flood ,    a zone can associate zone information with the zone that can
   earthquake, bridge out, etc . or by weather information 45 be conveyed to other users.
   sources , which might indicate the location of a severe       As stated above , a user that defines a zone can also
   thunderstorm , tornado , winter storm , hurricane, etc .   associate a zone information access code with the user
       In accordance with the present invention , object location      defined zone information corresponding to the user -defined
    information and zone information is displayed on a map             zone and can thereby manage the conveying of the user
   received from a map information source . In the example 50 defined zone information to one or more users . As generally
   described previously in relation to FIG . 2 , a map from an         described above , a user - defined zone information access
   Internet map service was used that shows the streets of the         code can specify individual users or groups allowed access
   city of Huntsville , Ala . at an appropriate scale for illustrating to the user-defined zone information , may specify a pass
   the movement of the daughter among three locations in the word a user must know to receive access to the user - defined
   city . Under one scenario , a user could zoom in or out from 55 zone information , and / or may include a clearance classifi
   a street scale to a world scale .Generally , any electronic map   cation code. As such , the user -defined zone information
   can be used in accordance with the present invention as           access code determines which user (s ) are conveyed the
   appropriate to meet the informational requirements of the         user -defined zone information .
   users involved . Furthermore , multiple maps can be used             in accordance with the present invention , a user can define
   allowing different levels of scale as appropriate for the 60 an object location event relating object location information
   requirements of the user( s ) involved in the sharing of          to user- defined zone information . An object location event
   information . A world map might be used , for example , that      may be something that is to occur whenever a specific object
   enables the locations of ships traveling to and from user-        enters and /or leaves a specific user- defined zone or an object
   defined zones associated with various ports around the world      location event may be something that is to occur whenever
   to be displayed . A map of an amusement park mightbe used 65 an object is or is not within a specified proximity of a
   by a family visiting the park . A map may correspond to the   user -defined zone. Under one aspect the invention, the
   inside of a building such as an office building or a shopping occurrence of an object location event results in the con




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   veyance of object location event information which includes       mall . The girls decide to split up and meet later at their
   object location information and user-defined zone informa         favorite hangout spot within the mall, which is a sitting area
   tion . Typically object location event information maintained     near an escalator. One of them defines a user -defined zone on
   for a defined object location event includes an object loca - the mall' s map corresponding to the sitting area and an
   tion event identification code and may include an object 5 object location event whereby the smart phones are sent an
   location event name, a time stamp, an object location event        email and caused to beep when any of the girls enters the
   security level , an object location event danger level, etc .      sitting area . They then split up to do some shopping . As they
   Generally, a user that defines an object location event can        walk about the mall, they walk near kiosks that recognize
   associate object location event information with the object   their presence within predefined areas within the mall ( via
   location event that can be conveyed to other users . Under 10 the smart phones ) and the kiosks provide personalized
   another aspect of the invention , the occurrence of an object      specials such as, “ Cindy. Your favorite pre -washed jeans are
   location event results in performance of a function , includ       30 % off!” When one of the girls finishes shopping and goes
   ing the control of a device such as a camera , motion sensor,      to the sitting area , the other two girls are automatically
   garage door, web cam , lighting device, etc .                      emailed and their phones beep so that they know to go meet
      In accordance with the present invention , a user that 15 their friend at the sitting area . With this example , the
   defines an object location event can also associate an object user -defined zone (i.e ., the sitting area ) and the object
   location event information access code with the object             location event (i.e., the emails /beeps ) were not predefined as
   location event information corresponding to the object loca - were the personalized specials provided by the kiosks as the
   tion event and can thereby manage the conveying of the girls walked into predefined zones .
   object location event information to one or more users . As 20 Thus, a key distinction between the user- defined zones of
   generally described above , an object location event infor - the present invention and predefined zones of previous
   mation access code can specify individual users or groups          location -aware applications is that the occurrence of object
   allowed access to the object location event information ,may       location events and the management of the conveyance of
   specify a password a user must know to receive access to the       object location event information is determined by the user
   object location event information , and / or may include a 25 of the computing device and not by someone else . Take for
   clearance classification code . As such , the object location example , a traveling salesman who wants to make his day
   event information access code determines which user ( s ) are more efficient. In accordance with the present invention ,
   conveyed the object location event information .              prior to venturing out on the road , the salesman determines
     An important distinction exists between the user-defined the nine sales calls he intends to make for the day and defines
   zones and object location events of the present invention , 30 a user - defined zone about each sales call location . For each
   and predefined zones ( or domains) and predefined object           user -defined zone he defines object location events related to
   location events that have previously been used in location ,       the location of his car and each zone . The time he enters or
   aware applications. Predefined zones are used to provide           leaves each zone is to be recorded and , as he enters each
   location -aware functionality in a useful but predetermined        zone , his PDA is to automatically receive the latest, up - to
   manner where users of computing devices within the infor- 35 the -minute customer information maintained by his sales
   mation sharing environment do not define the domain ( s ) or       office . For all but his last sales call he defines an object
   the events that occur as objects enter or leave the domains.     location event for when he leaves the corresponding zone to
   A predefined zone may be a house , a room , a business           email his next sales call to let them know that he ' s en route
   perimeter, or a predefined area within a much larger area .      to their business . The email sent when leaving his fourth call
   One or more events involving the location of objects relative 40 specifically mentions he ' ll be arriving in about one hour that
   to the predefined zone is predetermined . The user of the          is to include a lunch break . He also defines an object location
   computing devices in prior art shared information environ -        event to email his wife letting her know the time when he
   ment participates but does not otherwise control or manage         leaves the zone corresponding to his last sales call thus
   the conveyance of information , which has all been prede -         allowing her to better plan her evening.
   termined . For instance , an alarm condition may be set when 45 In accordance with the present invention , information
   a person carries an object having a non - deactivated RFID     packages can be associated with object location information ,
   tag into a predefined zone about an exit to a store whereby        user -defined zone information , and / or object location event
   the alarm condition causes a recorded warning message to           information where an information package may include a
   play on a loudspeaker. A motion detector may detect a             picture , movie , audio file , document, and/ or data file . The
   person walking through a predefined area near a building 50 information packages may include sensor information
   and turn on a light. Kiosks within a zoo may interact with         received from one or more sensors including those sensors
   individuals carrying tracking devices that enter predefined        thatmeasure a characteristic of a physical environment, such
   areas about the kiosks. A super mall, itself a domain ,may be      as temperature , humidity , radioactivity, etc . and/ or sensors
   subdivided into its tenant stores or even departments within       that measure physical characteristics , such as heart rate ,
   stores, each a separate domain , and customers carrying 55 breathing rate , etc . At least one time stamp may be associ
   tracking devices may be offered specials as they move about        ated with an information package indicating the timing of
   the mall.                                                          the information included in the package, for example, the
      The user- defined zones of the present invention can be         times when pictures were taken or sensor measurements
   defined by any user of the information sharing environment.       were made. Under one arrangement, any user can associate
   User- defined zones can be used in conjunction with 60 an information package with object location information ,
   domains. For example , three teenage girls , each carrying a user -defined zone information , and /or object location event
   smart phone with a location information source , go to a mall information .
   where each of the three girls is a member of the mall 's             In accordance with the present invention , a user that
   interactive shopping club . As they enter the mall, their smart    associates an information package with object location
   phones automatically interface with the information sharing 65 information , user -defined zone information , and /or object
   environment available within the mall. Their phones load the location event information can also associate an information
   mall's map and begin to indicate their locations within the        package access code with the information package and can




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   thereby manage the conveying of the information package to            to ON , location packet are saved in individual records that
   one or more users. As generally described above , an infor-           can be displayed as a ‘Mapped Track ' on a user 's PDA ,
   mation package access code can specify individual users or            Phone, or PC .
   groups allowed access to the information package , may                   Current and prior user location information for one or
   specify a password a user must know to receive access to the 5 more users can be conveyed to one or more users having
   information package , and/ or may include a clearance clas -          access privileges to the user location information for display
   sification code . As such , the information package access            on the one or more users ' computing device (s ). The current
   code determines which user ( s ) are conveyed the information         position of a given user is indicated by a black square . As
   package .                                                             such , as the user moves, black squares indicate the current
     Generally , the present invention enables any user of a 10 and past location of the user thereby showing the movement
   multiple user computing environment to define object loca -           or path of the user.
   tion events relating object location information to user                Zones comprise geographic boundaries. If the GPS
   defined zones and to manage to conveyance of object                   receiver indicates a user ' s location passes over a zone
   location event information based on user identification boundary , an exit or entry alert is issued . A notification is
   codes. By also using access codes , multiple users can 15 sent to one or more individuals as defined when the zone is
   collaboratively define and manage events and manage the               created . Different types of zones can be created with each
   conveyance of corresponding object location information ,             zone type causing different types of information to be
   user-defined zone information , and/ or object location event         conveyed when a user ' s location enters , exits , and / or is
   information among computing devices . Moreover, the pres -            within a zone. Codes associated with the zones determine
   ent invention provides a system and method for generating 20 which users receive location information . As such , the codes
   user- defined location aware applications. Described below            associated with the zones correspond to the zone informa
   are four examples of such user -defined location aware                tion access codes and object location event information
   applications that are supported by the present invention .            access codes described generally above. Specifically, by
     Parole Officer Support                                              sharing the Phone number and Code other users can ‘load
     Parolees have associated with them a location information 25 the zone into their device and it will respond with alerts to
   source . A parole officer can , on a case -by - case basis , identify the defined addressees thereby enabling group tracking and
   good locations and bad locations for parolees and define location management.
   object location events for entering such good and bad         FIG . 8 illustrates an exemplary PDA Application Launch
   locations causing him to be notified of a given parolee    Screen 800 used to begin execution of the Location and
   visiting the locations .                                30 Tracking software . Referring to FIG . 8 , a PDA application
      Pet Tracking                                            launch screen 800 typically includes various icons corre
      A pet has associated with it a location information source .       sponding to programs available for execution such as the
   The pet owner defines zones that the pet is supposed to stay          Location and Tracking software icon 802 . When a user
   in ( e . g ., a yard ) and may define zones in which the pet is not   selects the Location and Tracking software icon 802, the
   allowed ( e . g ., a garden ). An object location event for leaving 35 Location and Tracking software is executed .
   the yard sends an email and phones the pet owner.An object              FIG . 9 illustrates an exemplary Main Screen 900 of the
   location event for entering the garden might cause a siren to         Location and Tracking software that appears when the
   go off to scare the pet.                                              software is launched . The Main Screen 900 is the primary
      Child Tracking                                            screen from which additional screens of the software are
      A child has associated with it a location information 40 accessed via the buttons labeled Maps , Contacts , GPS ,
   source . A parent identifies zones in the neighborhood where Config , Groups , Camera , and Buttons . Main Screen 900 is
   the child is allowed to play and explicitly not allowed to            also the screen to which the user of the software is returned
   play . Object location events are defined where the parent is         when closing screens associated with the buttons. The Exit
   emailed or otherwise notified as the child moves about the button ends execution of the software and returns the user to
   neighborhood .                                            45 the Application Launch Screen 800 .
     Hiking                                                        FIG . 10 illustrates an exemplary Configuration Screen
      Several hikers have associated with them location infor -       1000 of the Location and Tracking software used to manage
   mation sources . The hiking trail as indicated on a map           information corresponding to the user of the PDA (or other
   includes user- defined zones corresponding to key locations       computing device ). The user of the program accesses the
   along the route . Object location events are defined such that 50 Configuration Screen 1000 by selecting the Config button of
   each hiker receives an email on their smart phone whenever            the Main Screen 900. Configuration Screen 1000 provides
   another hiker enters or exits a zone .                                fields for entering a user data access code , user phone
      The present invention is implemented by a Location and             number, log file name, and a user domain or IP address . The
   Tracking software that executes on PDAs, telephones, and              screen is also used to toggle logging on and off .
   personal computers . The Location and Tracking software is 55           FIG . 11 illustrates an exemplary GPS Screen 1100 of the
   used for tracking the location of a user whereby user location        Location and Tracking software used to manage a GPS
   information is conveyed to contacts based upon the location           receiver that is associated with a user 's PDA (or other
   of the user relative to one or more zones defined by the user .       computing device ) via a Bluetooth connection . GPS Screen
   As such , user location information described below corre -           1100 includes fields for displaying and controlling GPS
   sponds to object location information generally described 60 device settings , a button for turning the Bluetooth connec
   above .                                                      tion on and off, a button for turning the GPS device on and
      The Location and Tracking software is typically used in            off, and buttons for controlling whether real- time or simu
   the LOCATION mode . This means that a GPS connection is               lated GPS data is conveyed . GPS Screen 1100 also includes
   active and a polling rate is set to periodically send location        Setup button 1102 used to launch the Tracking Setup Screen .
   packets indicating the location of the user to a central 65 FIG . 12a illustrates an exemplary Tracking Setup Screen
   database . If a user sets TRACKING to OFF , location packets 1200 of the Location and Tracking software used to control
   only update the current location record . If TRACKING is set          the rate at which GPS information is polled , to examine GPS




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   information records, and to turn on or off the TRACKING                code for each buddy'. If a public zone is available it can be
   mode. Tracking Setup Screen 1200 includes Files button                 selected and loaded into the user 's device . Users share
   1202 that is used to launch Log File Selection Screen 1204             access codes in order to share zones. As such , a user tells
   that is used to select a log file . A log file can be written to   another user the access code needed to load a zone .
   and then later read , as controlled by the Use button , to cause 5 FIG . 15 illustrates an exemplary Contact Screen 1500 of
   a play back of GPS information .                                  the Location and Tracking software used to manage infor
      FIG . 12b illustrates an exemplary Log File Selection mation            corresponding to contacts (i.e., other users). The
   Screen 1204 of the Location and Tracking software used to         Contact Screen 1500 allows the user to populate information
   select a log file for storing GPS information . Log File
   Selection Screen 1024 provides a typical Open dialog win - 10 mation  corresponding to contacts such as name and address infor
   dow allowing a user to open a log file stored at any storage                 .
   location to which the user (and the user 's device ) has access . theFIGLocation
                                                                               . 16 illustrates an exemplary Camera Screen 1600 of
                                                                                      and Tracking software used to manage pictures
      FIG . 13a illustrates an exemplary Map Screen 1300 of the
   Location and Tracking software used to display a map associated with user location information . The Camera
   received from a map server  ver.. The
                                     The Map
                                         Man Screen
                                             Screen 1300
                                                     1300 isis used
                                                               used 1515 ser
                                                                         Screen 1600 is used to associate pictures and text with a user
   to request and locate a map using the current latitude and            and to convey the picture information to other users . The
   longitude of the user, to turn the TRACKING mode on or                 pictures correspond to information packages described gen
   off, to display / edit data location records , to create zones , and   erally above , which could also include other forms of
   to size the map. These various functions are controlled via            information . The Camera Screen 1600 could alternatively be
   a row of buttons 1302 at the bottom of Map Screen 1300. 20 a Device Screen that controlled multiple devices including
   The row of buttons 1302 is also displayed on the bottom of             cameras , motion sensors , garage doors , web cams, etc. and
   Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and           corresponding information as described previously . As
   About Screen 1310 .                                           described previously , picture or other information packages
      FIG . 13b illustrates an exemplary Data Screen 1304 of the can be associated with zone information or event informa
   Location and Tracking software used to manage conveyance 25 tion .
   of tracking and zone information to specific users based on     FIG . 17 illustrates an exemplary Big Buttons Screen 1700
   access codes. It is accessed by selecting the Data button              of the Location and Tracking software used to provide easy
   included in the row ofbuttons 1302 displayed on the bottom             access to key application commands while walking or
   of Data Screen 1304 , Zone Screen 1306 , Size Screen 1308 ,            driving .
   and About Screen 1310 . Specifically, Data Screen 1304 is 30              FIG . 18 illustrates an exemplary Map Viewer Web Page
   used to set access codes and to associate email addresses and          1800 used for displaying maps and other information con
   phone alerts with zones .                                              veyed by the Location and Tracking software .
      FIG . 13c illustrates an exemplary Zone Screen 1306 of the             FIG . 19 illustrates an exemplary Contact Viewer Web
   Location and Tracking software used to define user-defined             Page 1900 used for displaying contact information conveyed
   zones. It is accessed by selecting the Zone button included 35 by the Location and Tracking software .
   in the row of buttons 1302 displayed on the bottom of Data                FIG . 20 illustrates an exemplary web page -based display
   Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and of a map 2000 overlaid with GPS tracking and zone infor
   About Screen 1310 . The Zone Screen is used to define a mation conveyed by the Location and Tracking software . In
   zone and/ or to load a zone defined by another user . A user FIG . 20 , balloon icons labeled alphabetically that indicate
   can use the Zone Screen to controlwhether zone information 40 logged locationsof a user for which information is available .
   is shared (i.e ., made public ) to other users and to control          Also shown are two zones represented by rectangles. When
   whether the TRACKING mode is on or off.                                a given balloon is selected , information is displayed , for
      FIG . 13d illustrates an exemplary Size Screen 1308 of the          example , as shown in the information box in the center of the
   Location and Tracking software used to manage the size and             map corresponding to the balloon labeled F . Similarly ,
   other characteristics of a displayed map . It is accessed by 45 information is displayed corresponding to either of the zones
   selecting the Size button included in the row of buttons 1302          when either is selected .
   displayed on the bottom of Data Screen 1304 , Zone Screen                 FIG . 21 illustrates an exemplary web page for creation of
   1306 , Size Screen 1308, and About Screen 1310 . The Size              zones 2100 that can be used with the Location and Tracking
   Screen 1308 is used to set the scale ( or zoom ) of the map , software . As shown in FIG . 21 , a zone is created by selecting
   to turn on or off the display of zone boundaries, and to 50 a first point on a map indicated by a first balloon and
   control auto centering of maps .                              dragging to another point on a map indicated by a second
     FIG . 13e illustrates an exemplary About Screen 1310 of              balloon where the two points correspond to opposite corners
   the Location and Tracking software used to provide a notice            of a rectangle representing the user-defined zone boundary.
   concerning Tracking Privacy Issues, software version infor-               FIG . 22 illustrates an exemplary map displayed on a web
   mation , and copyright information . It is accessed by select- 55 page 2200 depicting logging of user location information
   ing the About button included in the row of buttons 1302 while a user is within a zone and logging of user location
   displayed on the bottom of Data Screen 1304, Zone Screen information when a user enters or leaves a zone. As depicted
   1306 , Size Screen 1308, and About Screen 1310 .           in FIG . 22, one type of zone 2202 provides user location
      The row of buttons 1302 displayed on the bottom of Data information periodically while a user is within the zone .
   Screen 1304 , Zone Screen 1306 , Size Screen 1308 , and 60 Another type of zone 2204 only provides user location
   About Screen 1310 also includes a Close button that when               information when the user enters or exits the zone.
   selected returns the user to the Main Screen 900 .                       FIG . 23 illustrates an exemplary map displayed on a web
      FIG . 14 illustrates an exemplary Group Screen 1400 of              page 2300 depicting a picture associated with a location of
   the Location and Tracking software used to manage infor-  a user. As shown in FIG . 23 , a balloon labeled F corresponds
   mation corresponding to groups of contacts . The Group 65 to a location of a user . An information package consisting of
   Screen 1400 is used to add or remove users from a stored               a picture that has been associated with the user ' s location is
   ' buddy list containing the user name, phone number and                available as part of the information displayed when the




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   balloon is selected . In the information window is a thumb                    ii . specifying an information access code comprising an
   nail of the picture which when selected displays the fully                         access list that identifies by corresponding UID codes
   enlarged picture .                                                                which users of the plurality of the users are allowed to
      The Location and Tracking software described herein was                      receive 1) location information from a first location
   provided as an example of the types of applications that are 5                  information source associated with the first DID code
   enabled by the present invention . While particular embodi                      or a second location information source associated with
   ments and several exemplary applications (or implementa                          the second DID code over a wireless network and 2 )
   tions) of the invention have been described , it will be                         event information other than location information con
   understood , however, that the invention is not limited                         veyed when the database management system deter
   thereto , since modifications may be made by those skilled in 10                mines that the event has occurred , wherein the location
   the art , particularly in light of the foregoing teachings. It is ,             of the zone is independent of locations of the plurality
   therefore, contemplated by the appended claims to cover any                     of mobile devices , and wherein the access list com
   such modifications that incorporate those features or those                     prises one or more UID codes that identify one or more
   improvements which embody the spirit and scope of the                           users as recipients who are allowed to receive an alert
   present invention .                                                   15        when the event occurs such that any user who is not
      The invention claimed is:                                                    identified on the access list is not a recipientof the alert
      1 . A database management system used in a mobile device                     when the event occurs, wherein the alert is only con
   tracking service that tracks locations of a plurality ofmobile                  veyed to the one or more recipients of the alert iden
   devices identified by corresponding device identification                       tified on the access list when the event occurs ;
   codes (DID codes ) in one or more databases , said database 20               receive the location information of the first and second
   management system accessing the one or more databases by                        mobile devices identified by the first DID code and the
   one or more centralized or distributed servers controlled                      second DID code;
   under a first level of administrative privilege of an admin                  determine whether to send the alert based on a compari
   istrator of the mobile device tracking service , the mobile                    son of the location of the zone with the location
   device tracking service being provided to a plurality of users 25              information of the first or second mobile devices in the
   who are identified by corresponding user identification                         group ;
   codes (UID codes ) who track the plurality of mobile devices ,               check a second level of access control based on one or
   said plurality of users including users who are allowed to                     more UID codes in the access list to cause the alert to
   receive certain alerts relating to the locations of the tracked                 be sent to the one or more recipients identified on the
   mobile devices and users who are not allowed to receive the 30                  access list such that only identified users of the plurality
   certain alerts, the one or more servers being configured to :                   of users can receive the alert when the event occurs ,
      check the first level of administrative privilege of the                     and
         administrator before the administrator performs a first                 convey the location information of the first or second
        set of administrative functions that include:                              mobile devices to one or more recipients identified on
        specifying a plurality of groups of users of the plurality 35              the access list such that only identified users of the
           of users who track the plurality of mobile devices,                     plurality of users can receive the location information .
           including a group identified by a group identification                2 . The system of claim 1, wherein the second set of
           code (GID code ), said group being associated with a               administrative functions further include :
           first mobile device identified by a first DID code and      specifying a sub -group of users in the group identified by
           a second mobile device identified by a different 40            the GID code;
           second DID code and one or more users identified by         identifying the sub - group with a sub - group ID code
          corresponding UID codes in the group identified by              (SGID code ) on the access list;
           the GID code , said UID codes being different from          specifying a second user ID code for a second user in the
                                                                       spectly
           each other and the first and second DID codes;                 sub - group.
        controlling user membership in the groups;                45 3 . The system of claim 2, wherein the second set of
        specifying an authorized user ID code (AUID code ) administrative functions further include giving a third level
          that identifies an authorized user other than the of administrative privilege to the second user to identify one
          administrator in the group identified by the GID          or more users in the sub - group on the access list as one or
           code;                                                              more recipients of the alert in the sub - group .
        giving a second level of administrative privilege to the 504 . The system of claim 3 , wherein the one ormore servers
           authorized user to perform a second set of adminis -               are further configured to : a ) check the second level of
           trative functions, wherein the administrator having                administrative privilege of the authorized user before the
           the first level of administrative privilege does not               authorized user gives the third level of administrative privi
           perform the second set of administrative functions                 lege to the second user ; and b ) check a third level of access
           performed under the second level of administrative 55 control based on the UID code of the second user to perform
           privilege given to the authorized user;               a set of functions that are assigned to the second user based
      check a first level of access control based on the AUID                 on the authorized user 's role in an organization or the
        code before the administrator gives the second level                  authorized user ' s security - clearance .
        administrative privilege to the authorized user; and                    5 . The system of claim 4 , wherein the one or more servers
      check the second level of administrative privilege of the 60 are further configured to check the third level of adminis
        authorized user before the authorized user performs the               trative privilege of the second user before performing the set
        second set of administrative functions that includes:                 of functions that are assigned to the second user based on the
        i. setting an event for the group that occurs when the                second user' s role in the organization or the second user ' s
           first mobile device or the second mobile device                    security - clearance .
           crosses a zone comprising a boundary location on a 65 6 . The system of claim 3 , wherein the one or more servers
           reference coordinate system that is defined after the are further configured to check the third level of adminis
           group is specified ; and                              trative privilege of the second user before enabling the




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                                  25                                                                 26
   second user to specify a second access list comprising UID               3 ) a mobile object identified by an OID code different
   codes identifying one or more recipients in the sub- group                from the AUID code and SUID code ; and
   who are allowed to receive a second alert different from the          b . checking the second level of administrative privilege of
   alert; and check a fourth level of access control based on the           the authorized user based on the AUID code before
    second access list before causing the second alert to be sent 5         providing one or more users interfaces to the authorized
   only to the one or more recipients in the sub - group.                   user to specify :
      7. The system of claim 1 , wherein the one or more servers            i. an event condition based on the mobile object loca
   are further configured to determine the occurrence of a                    tions that causes a group event to occur ; and
   second event that is different from the event, said second               ii . an information access code comprising an access list
   event being based on a condition determined by the prox                      that identifies one or more users of the plurality of
   imity of the first and second mobile devices to each other or                users by corresponding UID codes including the
   to a mobile object identified by a mobile object ID code                      SUID code of the second user who are recipients of
    (OID code ) different from the DID codes, and wherein the                  a notification information when the group event
   occurrence of the second event is determined based on the 16               occurs such that any user of the plurality of users
   OID code and the first or second DID codes , wherein a                     who is not identified on the access list is not a
   mobile object and a mobile device are of different kinds.                   recipient of the notification information when the
      8 . The system of claim 7 , wherein the one or more servers              group event occurs ; and
   are further configured to determine occurrence of the second          c . checking a first level of access controlbased on the UID
   event based on location information received from one or 20              codes to determine which users of the plurality of users
   more wireless proximity location information sources used                can receive the notification information when the group
   to provide location information of the mobile object iden                event occurs ; and
   tified by the OID code .                                              d . checking a second level of access control based on the
      9 . The system of claim 8 , wherein the proximity location            information access code before sending the notification
   source provides proximity locations of the mobile object to 25           information when the database management system
   the first mobile device or to the second mobile device or to             determines that the group event has occurred ; the
   another identified fixed or mobile object.                               notification information being sent to the one or more
      10 . The system of claim 9 , wherein the proximity device             recipients identified on the access list including the
   is an NFC device, a Bluetooth device, an RFID device or a                second user to protect user privacy such that only
   sensor device that measures temperature, humidity, heart 30              identified users of the plurality of users on the access
   rate, speed or motion .                                                  list can receive the notification information .
      11 . A method for tracking locations of a plurality of              12 . Themethod of claim 11 further comprising the step of
   mobile objects associated with one or more wireless location        receiving the mobile object locations before determining
   information sources that provide mobile object locations            whether the group event has occurred .
   which allows a plurality of users of a tracking service 35 13 . The method of claim 11, wherein any user of the
   provider having an administrator with a first level of admin - plurality of users without knowledge of the information
   istrative privilege of controlling user membership in groups        access code on the access list can receive the notification
   to track the plurality of mobile objects , the mobile device        information if identified on the access list .
   tracking service being provided by the administrator to the           14 . The method of claim 13 further comprising the steps
   plurality of users in the groups who track the plurality of 40 of allowing the plurality of users to log into a tracking
   mobile devices , the method being executed in a database       service network operated by the tracking service provider
   management system that interfaces with one or more data             based on corresponding UID codes and user login passwords
   bases that identify the plurality of mobile objects by corre        before providing the one or more user interfaces based on
   sponding object identification codes (OID codes ) and the           the second level of administrative privilege , and allowing
   plurality of users by corresponding user identification codes 45 the notification information to be sent to a recipient identi
   (UID codes ) to determine which users are allowed to be             fied on the access list who has entered the corresponding
   recipients of certain notification information when events          UID code and the user login password to log into the
   based on the mobile object locations occur, wherein one or          tracking service network .
   more users are not allowed to be recipients of the certain             15 . Themethod of claim 14 further including the steps of:
   notification information when such events occur , said 50             a . checking the first level of access control based on 1 ) the
   method comprising:                                                       AUID code and the authorized user login password
     a . checking the first level of administrative privilege of the       before providing one or more user interfaces that
        administrator before controlling user membership in                 enables the authorized user identified by the AUID
        one ormore groups specified by the administrator, said              code to use the second level of administrative privilege
        groups including a group identified by a group ID code 55           to control user membership as a second administrator
        (GID code ) of users of the plurality of users who are               of a sub - group of users within the group ;
        identified by corresponding UID codes, wherein the               b . checking the second level of access control based on
        group includes 1 ) an authorized user other than the                the SUID code and the second user's login password
        administrator identified by an authorized user ID code              before giving
        (AUID code ) having a second level of administrative 60          c . sending a third level of administrative privilege to the
        privilege given by the administrator to authorized user             second authorized user to control conveyance of noti
        to control conveyance of notifications in the group ,               fications in the sub - group of users, wherein the third
        wherein the administrator having the first level of                 level of administrative privilege of the second autho
        administrative privilege does not exercise the second              rized user is used to specify a second information
        level of administrative privilege given to the authorized 65       access code different from the first information access
        user, and 2 ) a second user identified by a second user            code comprising a second access list of recipients of
        ID code (SUID code) different from the AUID code and               notifications .




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                                 27                                                                   28
      16 . The method of claim 14 , wherein the first level of             28 . The method of claim 27 further including the step of
   access control is based on a UID code and a user login                checking the first level of administrative privilege before
   password and an additional passcode conveyed to the user              configuring the one or more centralized or distributed serv
   that must be entered before providing the one or more user            ers to interface with the proximity network based on a
   interfaces .                                                       5 proximity network administrative privilege that provides
      17 . The method of claim 11 further including the step of          proximity services to the plurality of the users , wherein the
   checking the first level of administrative privilege before proximity network administrative privilege is independent
   configuring one ormore centralized or distributed servers of of 01 the Thefirst level of administrative privilege .
   the tracking service provider to interface with the database 10 of:291 .) specifying
                                                                                  method of claim 11 further comprising the steps
                                                                                          a second event condition based on mea
   management system to associate one or more OID codes sures of temperature
   with one or more location information sources of mobile by an identified fixed, orhumidity          , heart rate , motion or speed
                                                                                                mobile wireless sensor device other
   objects in the group .                                                    than the mobile object, wherein the mobile object and the
       18 . The method of claim 11, wherein the event condition fixed or mobile wireless sensor device are not the samekind ,
   is based on the mobile object' s locations relative toto or
                                                            or within
                                                               within 1515 . and wherein satisfaction of the second event condition
   a zone comprising a location on a referenced coordinate         .         causes a second event to occur and 2 ) checking the second
      19 . The method of claim 18 further comprising the step of         level of access control based on the information access code
   determining the mobile object's locations before determin             before sending a notification information when the database
   ing whether the group event occurred and receiving an         management system determines based on the second event
   information package including an image , video , or multi- 20 condition that the second event has occurred .
   media file that is incorporated into the information package             30 . The method of claim 29 further comprising the step of
   when the mobile object is within the zone and accessing the           receiving a measure before determining whether the second
   image, video , or multi -media file based on the information          event has occurred and including the measure in the notifi
   access code .                                                         cation information when the group event occurs .
      20 . The method of claim 11, wherein the mobile objects 25           31. The method of claim 11 further comprising the steps
   comprise mobile sensor devices having one or more wireless            of specifying: 1) a second event condition based on the
   sensor information sources that provide a measure of tem -            proximity of the mobile object to another fixed or mobile
   perature , humidity , heart rate , motion or speed , wherein the      object comprising at least one second object, wherein sat
   event condition is based the location of the measure .                isfaction of the second event condition causes a second
      21 . Themethod of claim 20 further comprising the step of 30 event to occur and 2 ) checking the second level of access
   receiving the measure before determining whether the group            control based on the information access code before sending
   event has occurred and including the measure in the notifi-           a notification information when the database management
   cation information when the group event occurs.            system determines based on the second event condition that
      22 . The method of claim 20 , wherein the mobile sensor the second event has occurred .
   devices operate in a sensor network of the one or more 35 32. The method of claim 31 , wherein the second object is
   wireless sensor information sources, and wherein the event a proximity device associated with one or more wireless
   condition is further based on sensor information received             proximity location information sources , the method further
   from the sensor network operating independent of one or               comprising the step of receiving a proximity location from
   more central or distributed servers of the tracking service           the proximity device before determining whether the second
   provider.                                                          40 event has occurred .
     23 . The method of claim 22 further including the step of              33 . The method of claim 11 further comprising the steps
   checking the first level of administrative privilege before           of specifying : 1 ) a second event condition that is based on
   configuring one or more centralized or distributed servers to         the mobile object' s locations relative to a zone comprising
   interface with the sensor network based on a sensor network           a location in a reference coordinate system , wherein satis
   administrative privilege that provides sensor services to the 45 faction of the second event condition causes a second event
   plurality of users , wherein the sensor network administrative        to occur and 2 ) checking the second level of access control
   privilege is independent of the first level of administrative         based on the information access code before sending a
   privilege .                                                           notification information when the database management
      24 . The method of claim 11, wherein the mobile objects            system determines based on the second event condition that
   comprise proximity devices associated with one or more 50 the second event has occurred .
   wireless proximity location information sources , and                    34 . Themethod of claim 33 further comprising the step of
   wherein the event condition is based on proximities of a              receiving the mobile object's locations before determining
   mobile object to another fixed or mobile object comprising            whether the second event has occurred .
    a second object identified different from the mobile object.            35 . The method of claim 32 , wherein a mobile objects
      25 . The method of claim 24 further comprising the step of 55 comprises a GPS device , wherein the group event condition
   receiving a proximity location information from a proximity is based on the GPS device ' s location and the second event
   device before determining whether the group event has condition is based on the proximity of the GPS device to the
   occurred .                                                       proximity device.
      26 . The method of claim 24 , wherein the proximity device       36 . The method of claim 35 , wherein the proximity device
   comprises a Bluetooth or RFID code or NFC device.                  60 comprises a Bluetooth or RFID code or NFC device .
      27 . The method of claim 25 , wherein the proximity                   37. The method of claim 32, wherein the mobile objects
   devices operate in a proximity network of the one or more             are identified by corresponding OIDs codes and second
   wireless proximity location information sources, and                  objects are identified by second OID codes (SOID codes ),
   wherein the event condition is based on proximity locations           wherein an OID code identifies a vehicle and an SOID code
   received from the proximity network operating independent 65 identifies a proximity device associated with a driver iden
   of one or more central or distributed servers of the tracking tification code (driver ID code), wherein the event condition
   service provider.                                             is based on the vehicle ' s location relative to a boundary and




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                                29                                                                    30
   the second event is based on the proximity of the diver                    having the first level of administrative privilege does
   identified by the driver ID code to the vehicle identified by              not exercise the second level of administrative privi
   the OID code.                                                               lege given to the authorized user, and
      38 . The method ofclaim 37 ,wherein the proximity device              iii. a third level of access control of a second user
   comprises an NFC device .                                                   identified by a second user ID code (SUID code )
      39. The method of claim 31 , wherein the mobile object is                specified by the authorized user identified by the
   associated with one or more wireless location information                   AUID code before the second user receives the
   sources that provide the mobile object locations and one or                 notification information ;
   more wireless proximity location information sources that             b . checking the first level of access control based on the
   provide the proximity locations of the mobile object to the 10           AID code before identifying a group by a group ID
   second object , and wherein the group event condition is                 code (GID code) that includes the authorized user , the
   based on the mobile object locations and the second event                second user and a mobile object identified by a mobile
   condition is based on the proximity locations.                           object identification code (OID code); and
      40 . The method of claim 39 ,wherein a proximity location          c . checking the second level of access control based on the
   information source comprises a proximity device .            15          AUID code before allowing the authorized user to use
     41. Themethod of claim 40 , wherein the proximity device               the second level of administrative privilege to specify
   comprises a Bluetooth or RFID code or NFC device .                       1 ) an event condition based on the mobile object's
     42 . The method of claim 11, wherein the group event                   locations that causes a group event to occur and 2 ) an
   occurs based on a sequence of events specified by the                    information access code comprising an access list that
   authorized user, wherein the event condition is based on the 20          identifies one or more users who are privileged to be
   mobile object locations and the sequence of events that                  recipients of a notification information when the group
   cause the group event to occur.                                          event occurs such that any user who is not identified on
                                                                            the access list is not a recipient of the notification
     43. The method of claim 11 , wherein the occurrence of the              information when the group event occurs and 3 ) iden
   group event is based on the event condition being deter
   mined by a remote computing device that provides event 25                 tify the SUID code on the access list; and
   determination information to one or more computing                    d . determining the mobile object' s locations based on the
   devices of the database management system to determine                    OID code;
   whether the group event occurred .                                    e . determining whether the group event occurred based on
      44 . A method that uses a wireless system having an                   the event condition and the mobile object 's locations;
   administrator for tracking locations of a plurality ofmobile 30          and
   objects received from one or more location information                f. checking the third level of access control based on the
   sources over a wireless location network that provides the               SUID code before sending the notification information
   mobile object locations to a database management system                  to the second user when the group event occurs such
   that determines which users of a plurality of users of a                 that only identified users of the plurality of users on the
   tracking service provider are privileged to receive notifica - 35    access list can receive the notification .
                                                                     45 . The method of claim 44 , wherein the second level of
   tion information when events that are based on the locations access
   of the mobile objects occur, wherein one or more users are             control is used by the authorized user to assign a role
   not privileged to receive such notification information when in an organization or a security -clearance to the second user ,
   the events occur, the method being executed in the database wherein the one or more central or distributed servers are
   management system interfacing with the wireless location 40 configured to interface with the database management sys
   network and a database that identifies the plurality of the tem   such that the second user is given privilege to perform
                                                                one or more administrative functions that are based on the
   users by corresponding user identification codes and the assigned      role or the security - clearance .
   plurality of the mobile objects by corresponding object         46 . The method of claim 44 , wherein the second level of
   identification codes, said method comprising the steps of:
      a . configuring one or more centralized or distributed 45 access control is based on the AUID code and an additional
         servers of the tracking service provider to interface  passcode conveyed to the authorized that must be entered
         with the database management system to identify        before allowing the authorized user to perform the second
        groups of users of the plurality users who the track set47of. administrative functions .
                                                                       The method of claim 46 , wherein the third level of
       mobile objects under at least three different levels of
        access control, including:                          50 access control is based on the SUID code and an additional
                                                               passcode conveyed to the second user that must be entered
        i. a first level of access control of the administrator of    passco
           the tracking service provider identified by an admin       before allowing the second user to receive the notification
          istrator ID code (AID code ), the administrator hav information   48 . The
                                                                                      .
                                                                                     method  of claim 44 further comprising the step of
          ing amembership
          user   first level of administrative
                                             buprivilege to control
          user membership inin the the groun
                                       group by  specifving  uthe - 5555 configuring one or more centralized or distributed servers to
                                                 specifying autho        interface with the database management system based on the
           rized users ;                                               first level of administrative privilege for associating a loca
        ii. a second level of access control of an authorized user     tion information source with the OID .
          other than the administrator identified by an autho       49 . The method of claim 44, wherein any user without
          rized user ID code (AUID code ), the authorized user 60 knowledge   of the information access code can receive the
          having a second level of administrative privilege 60 notification
                                                                  K            information if identified on the access list.
           given by the administrator to control conveyance of
          a notification to the group , wherein the administrator                             *   *         *   *




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